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                                                                            October 30, 2023
VIA ECF
United States District Court
Eastern District of New York
Attn: Hon. Carol B. Amon, U.S.D.J.
225 Cadman Plaza East
Courtroom 10D South
Brooklyn, NY 11201-1804

       Re:     Martinez, et al. v. Atlantis Super Wash Center Inc., et al.
               Case No.: 1:23-cv-4667 (CBA) (PK)___________________

Dear Judge Amon:

        This firm represents Defendants Atlantis Super Wash Center Inc., Clean City Laundry Inc.,
and Nick Mira (collectively hereinafter the “Defendants”), who submit this renewed letter motion
in accordance with ¶ 3(A) of this Court’s Individual Motion Practices and Rules to respectfully
request a pre-motion conference in anticipation of Defendants’ motion to dismiss the complaint
for lack of subject matter jurisdiction and failure to state a claim upon which relief can be granted
pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure (hereinafter
referred to as “Rules” or “Rule”).

       Defendants provide the basis of their anticipated motion below.

Relevant Background

        On June 22, 2023, Plaintiffs Ester Martinez (“Martinez”), Leria Perez Zapata (“Zapata”),
and Mateo Guzman (“Guzman”) (Martinez, Zapata, and Guzman collectively hereinafter the
“Plaintiffs”) commenced the instant case. See ECF Docket Entry 1. On September 19, 2023,
Defendants appeared by counsel and moved by letter motion for a pre-motion conference in
anticipation of their motion to dismiss pursuant to Rules 12(b)(1) and 12(b)(6). See ECF Docket
Entries 6 and 7.

        On October 16, 2023, Plaintiffs filed their first amended complaint, asserting causes of
action under: (i) the Fair Labor Standards Act (“FLSA”) for unpaid overtime wages; (ii) the New
York Labor Law (“NYLL”) for unpaid overtime wages; and (iii) the NYLL for failure to furnish
wage notices. See ECF Docket Entry 11.

       For the reasons set forth below, this Court should grant Defendants’ letter motion for a pre-
motion conference and enter a briefing schedule for their anticipated motion to dismiss.
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This Court Should Dismiss Plaintiff’s Wage-and-Hour Claims for Failure to State a Claim

       Nothing has changed in the complaint to sufficiently state a claim for overtime under the
FLSA. As they did in the original complaint Plaintiffs allege that Martinez generally worked
anywhere from 47.5 to 73.5 hours each week and was paid $13.00 to $15.00 per hour, but was not
compensated for all hours worked. See Id. at ¶¶ 75-93 (“Defendants failed to pay Martinez
overtime compensation for all hours that she worked in excess of 40 each week”).

       Plaintiffs also allege that Zapata generally worked anywhere from 47.5 to 57.5 hours each
week and was paid $90.00 per day or $11.00 per hour, but was not compensated for all hours
worked. See Id. at ¶¶ 93-110 (“Defendants failed to pay Zapata overtime compensation for all
hours that she worked in excess of 40 each week”).

        Plaintiffs similarly allege that Guzman generally worked 66 hours each week and was paid
$600.00 per week, but was not compensated for all hours worked. See Id. at ¶¶ 111-123
(“Defendants failed to pay Guzman overtime compensation for all hours that she worked in excess
of 40 each week”).

        The FLSA requires that a covered employee be compensated at a rate of no less than one
and one-half times the regular rate of pay for any hours worked in excess of forty per week. See
29 U.S.C. § 207(a)(1). The NYLL adopts this same standard. See 12 NYCRR § 142–2.2 (2011)
(incorporating the FLSA definition of overtime into the NYLL). “[T]o survive a motion to dismiss
[an FLSA overtime claim], [p]laintiffs must allege sufficient factual matter to state a plausible
claim that they worked compensable overtime in a workweek longer than [forty (40)] hours.” See
Lundy v. Catholic Health System of Long Island Inc., 711 F.3d 106, 114 (2d Cir. 2013); see also
Nakahata v. New York-Presbyterian Healthcare Sys., Inc., 723 F.3d 192, 200 (2d Cir. 2013).

        Allegations that a plaintiff “regularly worked” more than forty hours per week are
insufficient to state a claim. See Dejesus v. HF Mgmt. Servs., LLC, 726 F.3d 85, 89-90 (2d Cir.
2013) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570); Nakahata, 723 F.3d at 199-201;
Gisomme v. HealthEx Corp., No. 13-CIV.-2541, 2014 WL 2041824, at *2 (E.D.N.Y. May 15,
2014) (concluding Plaintiff’s “allegation of an ‘average’ of 50 hours or more” per week insufficient
to “state a claim for failure to pay overtime compensation in a given workweek” (internal quotation
marks omitted)).

       Here, Plaintiffs still fail to meet the plausibility standard required to state a claim for their
overtime claim under the FLSA. They continue to fail to identify a single week in which any of
them worked and were not paid overtime wages.

       Accordingly, their wage-and-hour claims must be dismissed for failure to state a claim.

This Court Should Decline to Exercise Supplemental Jurisdiction over the State Law Claims

       The only basis for this Court to have subject matter jurisdiction is the federal question
posed by Plaintiffs’ FLSA claims. See 28 U.S.C. § 1331.


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        Defendants respectfully submit that this Court should decline to exercise supplemental
jurisdiction over the causes of action under the NYLL in this case except for the overtime and
minimum wage claims, which should be dismissed for the same reasons set forth supra.

        When a district court has original jurisdiction over claims in a case, it “shall have
supplemental jurisdiction over all other claims that are so related to claims in the action ... that
they form part of the same case or controversy under Article III.’” See F5 Capital v. Pappas, 856
F.3d 61, 77 (2d Cir. 2017) (quoting 28 U.S.C. § 1367(a)). “Pendent jurisdiction ... exists whenever
there is a claim ‘arising under [federal law],’ and the relationship between that claim and the state
claim permits the conclusion that the entire action before the court comprises but one
constitutional ‘case.’” See United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 725 (1966)
(quoting U.S. Const. art. III, § 2) (emphasis added))). Claims are considered “‘part of the same
case or controversy’ if they ‘derive from a common nucleus of operative fact.’” See Shahriar v.
Smith & Wollensky Rest. Grp., Inc., 659 F.3d 234, 245 (2d Cir. 2011) (quoting Briarpatch Ltd.,
L.P. v. Phoenix Pictures, Inc., 373 F.3d 296, 308 (2d Cir. 2004)).

        Here, the only federal claim raised arises under the FLSA. As such, only the NYLL claims
for unpaid overtime may properly form the basis for having a relationship to the FLSA claims for
the identical issues. Consequently, the remaining state law claims – for alleged minimum wage
violations – have no common nucleus of operative facts with Plaintiff’s overtime claims under
federal law.

       Accordingly, this Court must dismiss decline to exercise supplemental jurisdiction over the
remaining claims as they cannot be considered “part of the same case or controversy” nor “derive
from a common nucleus of operative fact.” For the foregoing reasons, Defendants request a pre-
motion conference be scheduled following the parties’ December 7, 2023 mediation should the
same be unsuccessful in resolving this case.

Dated: Lake Success, New York
       October 30, 2023                       Respectfully submitted,

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